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                    EXHIBIT ''A''
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Jason Van Dyke

From:                              Dean <dean714@yandex.com >
Sent:                              Wednesday, July 18, 2018 12:56 PM
To:                                Jason Van Dyke
Subject:                           [SPAM] Re:



Using a token black guy as a client so you can cla im you are not a racist Nazi is a pretty funny idea - unless you happen to
be the token black guy with a struggling dental practice in a small town.

I suspect that your scheme will backfire terribly.

But the attempt was quite funny nonetheless. Dr, Hampton will be featured in a new article - CHECK IT OUT!!



p.s.

Don't blame me for this. It was a random commentator on the BV File blog that found this out and posted a comment
directing our attention to this. So thank your Antifa buddies the mad doxer for this one! lol I heard that your
neighborhood got papered recently, too . that sucks. (not)




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